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 15   Class

 16                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 17
 18
 19
      PAULA MURRAY, on Behalf of              CASE NO.: ______________
 20   Herself and All Others Similarly
      Situated,
 21
 22                            Plaintiff,
                    v.                        CLASS ACTION COMPLAINT
 23
                                                        AND
 24   SAMSUNG ELECTRONICS                      DEMAND FOR JURY TRIAL
      AMERICA, INC.,
 25
 26                          Defendant.
 27
 28
                           Murray v. Samsung Electronics America, Inc.
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  1         PAULA MURRAY (“Plaintiff”) on behalf of herself and all others similarly
  2   situated (the “Class” or “Class Members”), by and though undersigned counsel,
  3   hereby files this Class Action Complaint and Demand for Jury Trial against
  4   Defendant, SAMSUNG ELECTRONICS AMERICA, INC. (“Samsung”), and in
  5   support thereof, alleges as follows based on personal knowledge as to her own acts
  6   and upon information and belief as to all other allegations:
  7                             JURISDICTION AND VENUE
  8
            1.     This Court has jurisdiction over this matter pursuant to the Class Action
  9
      Fairness Act, 28 U.S.C. § 1332(d) because at least one member of the proposed class
 10
      is a citizen of a state different from Samsung, the amount in controversy exceeds
 11
      $5,000,000, exclusive of interest and costs, the proposed class consist of more than
 12
      a hundred members, and none of the exceptions under this subsection apply to this
 13
      action.
 14
            2.     This Court has personal jurisdiction over Samsung because it conducts
 15
      substantial business in California, have had systematic and continuous contacts with
 16
      California, and have agents and representatives in California.
 17
            3.     Venue is proper in this District under 28 U.S.C. § 1391 because a
 18
      substantial part of the events giving rise to the claims occurred in and emanated out
 19
      of this District: Samsung’s conduct has injured putative Class Members in this
 20
      District, where Samsung transacts business and maintain offices. Accordingly, this
 21
      Court has jurisdiction over this action and venue is proper in this District.
 22
 23                                    INTRODUCTION

 24         4.     Plaintiff files this action on her own behalf and on behalf of a proposed
 25   class of consumers who bought kitchen appliances designed and manufactured by
 26   Samsung and sold under the Samsung brand name through authorized resellers.
 27   These relevant kitchen appliances, which include refrigerators, ranges, wall range
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  1   hoods, dishwashers, and microwaves, are all marketed and advertised by Samsung
  2   as “fingerprint resistant” “black stainless steel” (the “Class Appliances”).
  3          5.     “Black stainless steel” is understood by reasonable consumers to
  4   describe a permanent characteristic of the appliance: that it will be black stainless
  5   steel for the useful life of the appliances.       Moreover, reasonable consumers
  6   understand that “fingerprint resistant” similarly describes a permanent characteristic
  7   of the product, and that if it does not, they reasonably expect the description to be
  8   expressly qualified. In fact, Samsung fails to disclose the critically important
  9   information that its so-called black stainless steel is regular stainless steel with a
 10   cheap coating that in a matter of months flakes off, leaving consumers with an
 11   unsightly patchwork of regular stainless steel against the yet-to-peel-off black
 12   stainless steel (the “Defects”). Samsung charged consumers a premium for the black
 13   stainless steel appliances as compared with regular stainless steel. No reasonable
 14   consumer would have purchased the appliances, much less paid a premium for them
 15   if Samsung had disclosed to them that in a matter of months their “black stainless
 16   steel” appliances would be a patchy, inconsistent color. Samsung’s kitchen
 17   appliances are defective because the coating that Samsung applies starts to peel off
 18   after only several months of use, resulting in an unsightly, mis-colored appliance
 19   that is also devoid of the advertised “fingerprint resistant” protection (the “Defect”).
 20          6.     Samsung has known of these defects before it started to market its
 21   “fingerprint resistant” “black stainless steel” kitchen appliances, but has chosen to
 22   not disclose to consumers that the black coating on its appliances peels off after a
 23   few months of use, continuing instead to represent the Appliances as “black stainless
 24   steel” that is “fingerprint resistant.”
 25          7.     Since Samsung began selling the defective Appliances, it has received
 26   numerous consumer complaints, including from Plaintiff, relating to the coating
 27   peeling off, but has chosen to take no action to repair or replace these defective
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  1   kitchen appliances. On the contrary, Samsung has continued to market them as
  2   “fingerprint resistant” “black stainless steel,” and to deny warranty service to its
  3   customers who complain about the coating peeling off saying that it is a mere
  4   “cosmetic issue.”
  5                                        PARTIES
  6
            8.     Plaintiff, Paula Murray, is an individual and citizen of California, who
  7
      purchased the following supposedly fingerprint resistant Samsung black stainless
  8
      steel appliances in a Best Buy Co., Inc. (“Best Buy”) store in Westminster,
  9
      California: refrigerator with model number RF23HCEDBSG, a range with model
 10
      number NX58K9500WG, a range hood with model number NK30K7000WG, and a
 11
      dishwasher with model number DW80K7050UG.                 Plaintiff purchased these
 12
      products because she saw and believed Samsung’s representations that the
 13
      appliances would be black stainless steel and that they were more fingerprint
 14
      resistant than regular stainless steel. She reasonably believed that the appliances
 15
      would maintain their black color, and their fingerprint resistance for the life of the
 16
      products, and that Samsung’s description was not describing temporary
 17
      characteristics. Had she known this, she would have not purchased the appliances at
 18
      all, or would have purchased the less expensive stainless steel products instead. Now
 19
      plaintiff is stuck with unsightly, defective, splotchy-colored appliances that
 20
      Samsung has refused to fix.
 21
            9.     Defendant Samsung Electronics America, Inc. is a New York
 22
      corporation that maintains its principal place of business at Ridgefield Park, New
 23
      Jersey.
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  1                                   FACTUAL ALLEGATIONS

  2   I.        Samsung’s “Black Stainless Steel” Appliances Are Deceptively
                Marketed and Defective
  3
  4             10.    Samsung designs, manufactures, produces, develops, markets, and sells
  5   a wide variety of home electronics and Class Appliances throughout the United
  6   States, both directly and through its authorized dealers, including but not limited to
  7   Best Buy. These products include the black stainless steel kitchen appliances at issue
  8   in this action.
  9             11.    People expect modern appliances to last a long time, and, in fact, most
 10   do. According to the International Association of Certified Home Inspectors,
 11   research and testing has shown that kitchen appliances should be expected to have
 12   the following useful life on average:
 13          Refrigerators: 9-13 years,
 14          Dishwashers: 9 years,
 15          Gas ranges: 15-17 years,
 16          Electric ranges: 13-15 years,
 17            Microwave ovens: 9 years, and
 18          Range/oven hoods: 14 years. 1
 19             12.    Similarly,    Consumer       Reports,     a   well-respected,   independent
 20   organization that tests and rates numerous consumer products including appliances,
 21   has said that according to its survey most consumers expect that new major
 22   appliances will last 10 years:
 23              Once you’ve gone through the hassle of shopping for and installing
 24              a new refrigerator, you may find yourself wondering how long will
                 it be before your next fridge fiasco.
 25
 26
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 27       https://www.nachi.org/life-expectancy.htm (last accessed October 4, 2021).

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  1            If you’re like the average CR member we’ve surveyed, you would
               assume      any new major appliance will last about 10 years.
  2            “Consumer expectations across major appliances are remarkably
  3            consistent,” says Simon Slater, associate director of survey research
               at CR.
  4
               Manufacturers tend to agree. We asked makers of more than 20
  5            brands, and most say their appliances should last about 10 years. (A
  6            handful won’t say.)2
  7
             13.     Plaintiff expected that her appliances would last at least 10 years.
  8
      Samsung’s design of its black stainless steel kitchen appliances consists of applying
  9
      a matte black coating over the appliances, which are made of regular stainless steel.
 10
      Samsung applies this coating for aesthetic reasons, and to provide the appliances
 11
      with an additional protection against corrosion,3 including protection against oil and
 12
      grease from fingers—the so-called “fingerprint resistance.”
 13
             14.     The Appliances are uniformly advertised as “black stainless steel” and
 14   “fingerprint resistant.” For example, the Samsung website advertises the following
 15   refrigerator as such:
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      2
 24    https://www.consumerreports.org/appliances/how-long-will-your-appliances-last/ (last accessed
      October 4, 2021).
 25
      3
        A “[b]lack Oxide Finish provides many advantages for Stainless steel and other metallic parts.
 26   It provides protection from corrosion for the part, as well as from abrasion.” Black Oxide Finish
 27   on Stainless Steel Materials, https://www.materialgrades.com/black-oxide-finish-on-stainless-
      steel-materials-1702.html (last accessed October 4, 2021).
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 12   See https://www.samsung.com/us/home-appliances/refrigerators/side-by-side/27-4-
 13   cu-ft-side-by-side-refrigerator-with-large-capacity-in-black-stainless-steel-
 14   rs27t5200sg-aa/
 15         15.    To introduce their black stainless steel kitchen appliances to the
 16   American market, Samsung launched a marketing and advertising campaign
 17   throughout the United States to promote and differentiate their Appliances by stating
 18   that they offer a better resistance to smudges than other appliances due to its
 19   fingerprint resistance—while concealing that this so-called resistance has a lifetime
 20   of just a few months after consumers start to use the Appliances.
 21         16.    Samsung has provided to its authorized dealers, including but not
 22   limited to Best Buy, marketing and advertising communications about the
 23   characteristics and qualities of Samsung’s black stainless steel kitchen appliances,
 24   including unqualified statements that they are fingerprint resistant, with the intent
 25   that its authorized dealers share and disseminate these communications and
 26   statements with consumers, which they have uniformly done.
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  1           17.    Black stainless steel appliances are priced at a premium to normal
  2   stainless steel appliances. For example, the black stainless steel appliances
  3   purchased by Plaintiff reflect a premium over the stainless steel versions of the same
  4   appliances:
  5
  6                        Range4            Refrigerator5       Dishwasher6        Range Hood7

  7       Black SS         $2069.99          $2799.99            $849.99            $1259.00
  8       Plain SS         $1979.99          $2699.99            $799.99            $1169.00

  9           18.    The price premium for the black stainless steel is also apparent on
 10   Samsung’s own website. For example:
 11                  (a)     The Samsung StormWash dishwasher costs $809 in black
 12                          stainless steel, and $719 for the stainless steel version, which is
 13                          11% less.8
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       https://www.bestbuy.com/site/samsung-5-8-cu-ft-self-cleaning-fingerprint-resistant-slide-in-
 17   gas-convection-range-black-stainless-steel/4892503.p?skuId=4892503 (last accessed June 28,
      2021).
 18
      5
 19     https://www.bestbuy.com/site/samsung-24-73-cu-ft-4-door-flex-french-door-fingerprint-
      resistant-refrigerator-black-stainless-steel/4914300.p?skuId=4914300 (last accessed June 28,
 20   2021).

 21   6
        https://www.bestbuy.com/site/samsung-stormwash-24-top-control-built-in-dishwasher-with-
      autorelease-dry-3rd-rack-42-dba-black-stainless-steel/6361068.p?skuId=6361068
 22   (last accessed June 28, 2021).
 23   7
       https://www.samsung.com/us/home-appliances/cooktops-and-hoods/hoods/30--wall-mount-
 24   hood--2018--nk30k7000wg-a2/ (last accessed October 4, 2021).

 25   8
       Compare https://www.samsung.com/us/home-appliances/dishwashers/rotary/stormwash--48-
      dba-dishwasher-in-stainless-steel-dw80r5060us-aa/ with https://www.samsung.com/us/home-
 26   appliances/dishwashers/rotary/stormwash--48-dba-dishwasher-in-black-stainless-steel-
 27   dw80r5060ug-aa/ (last accessed June 28, 2021).

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  1                 (b)     The Samsung 5.8 Cu. Ft. Gas Range costs $1,199 in black
  2                         stainless steel, and $1,099 in stainless steel, which is 8.3% less.9
  3          19.    At the time Samsung started marketing and selling its black stainless
  4   steel kitchen appliances, it knew “black stainless steel” and “fingerprint resistant”
  5   described temporary characteristics. Samsung knew the Appliances were defective.
  6   Samsung’s design is flawed because the black coating used to provide fingerprint
  7   resistance begins to peel off after a few months of use, leaving the surface of these
  8   appliances devoid of additional protection against corrosion, including losing their
  9   fingerprint resistance, and completely ruining the aesthetics of the Appliances.
 10   However, Samsung decided to not correct its defective design and instead, opted to
 11   conceal it from consumers with the intent to increase their sales.
 12          20.    Samsung has continued to market and sell its black stainless steel
 13   appliances despite receiving numerous consumer complaints about the short lifetime
 14   of the black, fingerprint resistance coating. See a selection of consumers’ complaints
 15   on Samsung and Best Buy’s websites:10
 16
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 22   9
        Compare https://www.samsung.com/us/home-appliances/ranges/gas/5-8-cu-ft-freestanding-gas-
 23   range-with-convection-in-black-stainless-steel-nx58r5601sg-aa/ with
      https://www.samsung.com/us/home-appliances/ranges/gas/5-8-cu-ft-freestanding-gas-range-
 24   with-convection-in-stainless-steel-nx58r5601ss-aa/ (last accessed June 28, 2021).

 25   10
              https://us.community.samsung.com/t5/Kitchen-and-Family-Hub/Black-stainless-steel-
      appliances/td-p/1571598 (last accessed July 20, 2021);
 26   https://www.bestbuy.com/site/questions/samsung-flex-duo-5-9-cu-ft-self-cleaning-freestanding-
 27   fingerprint-resistant-double-oven-electric-convection-range-black-stainless-
      steel/9542089/question/15e6097e-fb39-3c12-a6c5-8411088f4ca4 (last accessed July 20, 2021).
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  14          Samsung has deliberately decided to ignore these complaints alleging that

  15    they relate to cosmetic issues, and has adopted a policy denying warranty service to

  16    its customers that complain about the peeling off of the fingerprint resistant coating.

  17    Plaintiff's Experience

  18          21.    In the spring of 2019, Plaintiff was in the market for a set of new kitchen

  19    appliances for their home. Among other places, she visited a Best Buy store in

  20    Westminster, California.

  21          22.    Plaintiff was exposed to Samsung’s marketing and advertising

  22    communications and statements about the characteristics and qualities of its black

  23    stainless steel kitchen appliances.     In particular, Plaintiff was exposed to the

  24    following statements:

  25                 (a)     “Fingerprint Resistant Refrigerator with CoolSelect Pantry -

  26                         Black stainless steel”;

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    1                 (b)     “Fingerprint Resistant Built-In Dishwasher-Black Stainless
    2                         Steel - Fingerprint Resistant Black Stainless Steel”;
    3                 (c)     “Self-Cleaning Fingerprint Resistant Slide-In Gas Convection
    4                         Range - Black stainless steel”; and
    5                 (d)     “Fingerprint resistant Helps reduce smudges for an everyday
    6                         great appearance”.
    7   See Composite Exhibit A.
    8           23.   After being exposed to the statements above, which Plaintiff reasonably
    9   to be believed true and therefore relied upon, she became interested in purchasing
  10    Samsung’s black stainless steel kitchen appliances for several reasons, including but
  11    not limited to their higher resistance to corrosion, fingerprint resistance, and because
  12    she wanted the aesthetics of black stainless steel.
  13            24.   Plaintiff paid a premium price for the Appliances, which she believed
  14    were quality fingerprint resistant black stainless steel, as advertised, and offered a
  15    higher protection against corrosion. Had the Appliances not been advertised as
  16    “fingerprint resistant” or “black stainless steel,” Plaintiff would not have purchased
  17    them.
  18            25.   On May 1, 2019, Plaintiff purchased four Class Appliances at said Best
  19    Buy store: a refrigerator with model number RF23HCEDBSG, a range with model
  20    number NX58K9500WG, a range hood with model number NK30K7000WG, and a
  21    dishwasher with model number DW80K7050UG (collectively, “Appliances”).
  22    Plaintiff paid a total of $5,843.22 for her Samsung appliances, including tax, delivery
  23    and installation charges. See receipt of purchase, attached hereto as Exhibit B.
  24            26.   A few months after purchase, the black coating on Plaintiff’s
  25    Appliances started to peel off, exposing the underlying stainless steel surface, and
  26    transforming the black stainless steel appearance into an unsightly patchwork of
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    1   different colors. Moreover, the Appliances lost their fingerprint resistance, a major
    2   buying point that Samsung expressly advertised and for which it charged a premium:
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  18          27.   On or about September 2020, Plaintiff contacted Samsung to complain
  19    that the Appliances were peeling off and seek warranty service. Samsung claimed
  20    that the peeling off of the Appliances was a mere “cosmetic issue” that was not
  21    covered under the warranty.
  22          28.   Samsung has never notified Plaintiff about the defective coating on the
  23    Appliances, nor has it offered any refund or remedial measure.
  24                          CLASS ACTION ALLEGATIONS
  25
              29.   Plaintiff brings this instant action both individually and as a class action
  26
        pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and 23(b)(3) against Samsung on behalf
  27
  28
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    1   of herself and a National Class and a California Subclass (collectively, the “Class”)
    2   defined as follows:
    3             National Class:
    4
                  During the fullest period allowed by law, all persons in the United
    5             States who purchased or otherwise acquired a Samsung-branded
    6             appliance advertised as “fingerprint resistant” and/or “black stainless
                  steel.”
    7
                  California Subclass:
    8
    9             During the fullest period allowed by law, all persons in the State of
                  California who purchased or otherwise acquired a Samsung-branded
  10              appliance advertised as “fingerprint resistant” and/or “black stainless
  11              steel.”

  12          30.      Subject to additional information obtained through further investigation
  13    and discovery, the foregoing definition of the Class may be expanded or narrowed
  14    by amendment or amended complaint. Specifically excluded from the proposed
  15    Class is Samsung, its officers, directors, agents, trustees, corporations, trusts,
  16    representatives, employees, principals, servants, partners, joint venturers, or entities
  17    controlled by Samsung, and its successors, assigns, or other persons or entities
  18    related to or affiliated with Samsung and/or its officers and/or directors, or any of
  19    them; the Judge assigned to this action, and any members of the Judge’s immediate
  20    family.
  21          31.      Numerosity: While the exact number of the class members cannot yet
  22    be determined, the Class consists, at a minimum, of thousands of people throughout
  23    the United States and California, such that joinder of all members (the “Class
  24    Members”) is impracticable. The exact number of Class Members can readily be
  25    determined by a review of information maintained by Samsung, and thus, may be
  26    notified of the pendency of this action by first class mail, electronic mail, and
  27    published notice, electronic or otherwise.
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    1         32.    Commonality: common questions of law and fact exist as to all of the
    2   Class Members and predominate over any questions affecting only individual Class
    3   Members. These common legal and factual questions include, but are not limited
    4   to, the following:
    5                (a)     Whether they purchased “fingerprint resistant” “black stainless
    6                        steel appliances” made by Samsung (“Class Appliances”);
    7                (b)     Whether the Class Appliances were defectively designed,
    8                        manufactured, marketed, distributed, and sold;
    9                (c)     Whether Samsung knew, or should have known, of the defects in
  10                         the Class Appliances when it placed them into the stream of
  11                         commerce;
  12                 (d)     When Samsung first became aware or should have become aware
  13                         that its Class Appliances were defectively designed and/or
  14                         manufactured;
  15                 (e)     Whether the existence of the defects in the Class Appliances is a
  16                         material fact that reasonable purchasers would have considered
  17                         in deciding whether to purchase them;
  18                 (f)     Whether Samsung knowingly concealed the defective nature of
  19                         the Class Appliances;
  20                 (g)     Whether Samsung intended that consumers be misled;
  21                 (h)     Whether Samsung intended that consumers rely on its non-
  22                         disclosure of the defects;
  23                 (i)     Whether Samsung misrepresented the durability of the Class
  24                         Appliances;
  25                 (j)     Whether, by the misconduct set forth herein, Samsung violated
  26                         consumer protection statutes and/or false advertising statutes
  27                         and/or state deceptive business practice statutes;
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                                                   16
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    1              (k)     Whether the Class Appliances are of merchantable quality;
    2              (l)     Whether, by the misconduct set forth herein, Samsung violated
    3                      express and implied warranty statutes;
    4              (m)     Whether Samsung’s false and misleading statements of material
    5                      facts regarding the Class Appliances were likely to deceive the
    6                      public;
    7              (n)     Whether consumers have been damaged;
    8              (o)     The nature and extent of damages and other remedies entitled to
    9                      the Class;
  10               (p)     Whether the Class Appliances are likely to fail before the end of
  11                       their reasonable expected lives;
  12               (q)     Whether Samsung breached warranties relating to Samsung
  13                       Class Appliances by failing to recall, replace, repair, and/or
  14                       correct the defects;
  15               (r)     Whether      Samsung     breached     implied    warranties    of
  16                       merchantability relating to the Class Appliances;
  17               (s)     Whether Samsung mispresented the characteristics, qualities,
  18                       and capabilities of the Class Appliances;
  19               (t)     Whether Samsung omitted, concealed from and/or failed to
  20                       disclose in its communications and disclosures to Plaintiff and
  21                       Class Members material information regarding the defects;
  22               (u)     Whether Samsung failed to warn consumers regarding the
  23                       defects in its Class Appliances;
  24               (v)     Whether Samsung made fraudulent, false, deceptive, misleading,
  25                       and/or otherwise unfair and deceptive statements in connection
  26                       with the sale of the Class Appliances in its marketing and
  27                       advertising materials and on its website, including those relating
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    1                         to standards, use, and reliability and otherwise engaged in unfair
    2                         and deceptive trade practices pertaining to the appliances;
    3                (w)      Whether Samsung was unjustly enriched as a result of selling the
    4                         Class Appliances;
    5                (x)      Whether Samsung should be ordered to disgorge all or part of its
    6                         profits it received from the sale of the Class Appliances;
    7                (y)      Whether Plaintiff and Class Members are entitled to damages
    8                         including compensatory, exemplary, and statutory damages and
    9                         the amount of such damages;
  10                 (z)      Whether Plaintiff and Class Members are entitled to repair and/or
  11                          replacement of their respective Class Appliances;
  12                 (aa)     Whether Plaintiff and Class Members are entitled to equitable
  13                          relief, including an injunction requiring Samsung to engage in a
  14                          recall of the Class Appliances; and
  15                 (bb) Whether Plaintiff and Class Members are entitled to an award of
  16                          reasonable attorneys’ fees, pre-judgment interest, post-judgment
  17                          interest, and costs.
  18          33.    Typicality: Plaintiff has substantially the same interest in this matter
  19    as all other proposed Class Members and their claims arise out of the same set of
  20    facts and conduct as all other Class Members. Plaintiff and all Class Members own
  21    or owned a Class Appliance designed and/or manufactured by Samsung with the
  22    uniform defects that make the appliances defective upon purchase and causes them
  23    to fail within their expected useful lives. All of the claims of Plaintiff and Class
  24    Members arise out of Samsung’s placement into the marketplace of kitchen
  25    appliances with a fingerprint resistance coating that peels off after a few months of
  26    use, leaving their surface exposed to an increased risk of rust and corrosion; Defects
  27    that Samsung knew were defective and caused property damage and other losses to
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    1   consumers and from Samsung’s failure to disclose the Defects. Also common to
    2   Plaintiff and Class Members’ claims is Samsung’s conduct in designing,
    3   manufacturing, marketing, advertising, warranting, and/or selling the Class
    4   Appliances, Samsung’s conduct in concealing the Defects, and Plaintiff and Class
    5   Members’ purchase of the Class Appliances.
    6         34.    Adequacy of Representation: Plaintiff is committed to pursuing this
    7   action and have retained competent counsel experienced in products’ liability,
    8   deceptive trade practices, and class action litigation. Accordingly, Plaintiff and her
    9   counsel will fairly and adequately protect the interests of Class Members. Plaintiff’s
  10    claims are coincident with, and not antagonistic to, those of the other Class Members
  11    she seeks to represent. Plaintiff has no disabling conflicts with Class Members and
  12    will fairly and adequately represent the interests of Class Members.
  13          35.    The elements of Rule 23(b)(2) are met. Samsung continues and will
  14    continue to commit the violations alleged in this Complaint and the Class Members
  15    and the general public will continue to remain at an unreasonable and serious
  16    property and other damages risk as a result of the Defects. Samsung has refused to
  17    act on grounds that apply generally to Class Members so that final injunctive relief
  18    and corresponding declaratory relief is appropriate respecting the Classes as a whole.
  19          36.    The elements of Rule 23(b)(3) are met. Here, the common questions of
  20    law and fact enumerated above predominate over the questions affecting only the
  21    individual Class Members and a class action is the superior method for fair and
  22    efficient adjudication of the controversy. Although many other Class Members have
  23    claims against Samsung, the likelihood that individual Class Members will prosecute
  24    separate actions is remote due to the time and expense necessary to conduct such
  25    litigation. Serial adjudication in numerous venues is not efficient, timely, or proper.
  26    Judicial resources would be unnecessarily depleted by prosecution of individual
  27    claims. Joinder on an individual basis of thousands of claimants in one suit would
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    1   be impracticable or impossible. Individualized rulings and judgments could result
    2   in inconsistent relief for similarly-situated plaintiffs. Plaintiff’s counsel, highly
    3   experienced in class action litigation, foresee little difficulty in the management of
    4   this case as a class action.
    5         TOLLING AND ESTOPPEL OF STATUTES OF LIMITATIONS
    6
              37.    The claims alleged herein accrued upon discovery of the defective
    7
        nature of the Class Appliances. Because the Defects alleged herein were not
    8
        disclosed by Samsung and because Samsung took steps to either conceal or fail to
    9
        disclose the true character, nature, and quality of the Class Appliances, Plaintiff and
  10
        Class Members did not discover and could not have reasonably discovered the
  11
        Defects through reasonable and diligent investigation.
  12
              38.    Any applicable statutes of limitations have been tolled by Samsung’s
  13
        knowledge and actual misrepresentations and/or concealment and denial of the facts
  14
        as alleged herein, which concealment is ongoing. Plaintiff and Class Members could
  15
        not have reasonably discovered the true defective nature of their Class Appliances
  16
        until such time as the Defects manifested by failing in the ways described herein.
  17
        As a result of Samsung’s active concealment of the Defects and/or failure to inform
  18
        Plaintiff and Class Members of the Defects, any and all statutes of limitations
  19
        otherwise applicable to the allegations herein have been tolled.
  20
              39.    Alternatively, the facts alleged above give rise to estoppel. Samsung
  21
        has actively concealed the defective nature of the Class Appliances. Samsung was
  22
        and is under a continuous duty to disclose to Plaintiff and Class Members the true
  23
        character, quality, and nature of the Class Appliances and particularly that they
  24
        posed a severe risk of property and other damages. At all relevant times and
  25
        continuing to this day, Samsung knowingly, affirmatively, and actively
  26
        misrepresented and concealed the true character, quality, and nature of the Class
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    1   Appliances. Given Samsung’s failure to disclose this non-public information about
    2   the defective nature of the Class Appliances—information over which it had
    3   exclusive control—and because Plaintiff and Class Members could not reasonably
    4   have known that the Class Appliances were thereby defective, Plaintiff and Class
    5   Members reasonably relied on Samsung’s affirmative and/or ongoing concealment.
    6   Based on the foregoing, Samsung is estopped from prevailing on any statute of
    7   limitations defense in this action.
    8         40.    Additionally, Samsung is estopped from raising any defense of laches
    9   due to its own unclean hands as alleged herein.
  10                                  CLAIMS FOR RELIEF
  11
              41.    Plaintiff brings the claims set forth in counts I to V individually and on
  12
        behalf of the National Class under California law.
  13
              42.    In the alternative, Plaintiff brings her common law claims in counts I to
  14
        V individually and on behalf of the California Subclass under California law, and on
  15
        behalf of all other class members under the laws of the states in which they purchased
  16
        their Class Appliances; and her legal claims set forth in count III under the
  17
        California’s Consumer Legal Remedies Act individually and on behalf of the
  18
        California Subclass only.
  19
              43.    Should the Court determine that Plaintiff has no adequate legal remedy,
  20
        Plaintiff brings the claims set forth in counts III to V seeking equitable remedy under
  21
        California’s Unfair Competition Law, False Advertising Law and Consumer Legal
  22
        Remedies Act individually and on behalf of the California Subclass only.
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    1                                        COUNT I

    2                       BREACH OF EXPRESS WARRANTIES
    3
              44.    Plaintiff re-alleges paragraphs 1 through 43 and incorporates them
    4
        herein by reference.
    5
              45.    In connection with its sale of the Appliances, Defendant expressly
    6
        warranted in writing prior to purchase by consumers that the Appliances are “black
    7
        stainless steel” and that they are “fingerprint resistant.” As alleged above, these
    8
        written warranties were made uniformly in any medium that described the
    9
        Appliances, including on websites, and on product tags and/or advertisements for
  10
        the Appliances at brick-and-mortar retailers.
  11
              46.    The express written warranties covering the Products were a material
  12
        part of the bargain between Defendant and consumers. At the time it made these
  13
        express warranties, Defendant knew of the purpose for which the Products were to
  14
        be used.
  15
              47.    Defendant breached the warranty because the Appliances are not “black
  16
        stainless steel” and are not “fingerprint resistant,” and because Defendant
  17
        improperly and unlawfully denies valid warranty claims, and it has failed or refused
  18
        to adequately repair or replace the Products with non-defective units.
  19
              48.    In addition to these express pre-purchase warranties, Samsung created
  20
        and extended to potential purchasers an express warranty in connection with every
  21
        sale, directly or through its authorized resellers, of the Class Appliances.
  22
              49.    Under this contract, which Plaintiff and other Class members received
  23
        with delivery of the Appliances after their purchases, Samsung “warranted [the Class
  24
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    1   Appliances] against manufacturing defects in materials and workmanship for a
    2   limited warranty period of [] One (1) year[.]” See Composite Ex. C.11
    3          50.    Plaintiff has notified Defendant of the defect on or about September
    4   2020 and asked it to fix the defective, peeling coating. Defendant refused, claiming
    5   they are merely cosmetic problems not covered by any Samsung warranty.
    6          51.    Accordingly, Defendant has received timely notice regarding the
    7   problems at issue in this litigation, and notwithstanding, Defendant has failed and
    8   refused to offer an effective remedy.
    9          52.    Defendant breached its express written warranties to Plaintiff and Class
  10    Members in that the Products are defective at the time they leave the manufacturing
  11    plant, and on the first day of purchase, and by failing to disclose and actively
  12    concealing this risk from consumers.
  13           53.    To the extent that Defendant has limitations, the exclusions in
  14    Defendant’s Warranty are harsh, oppressive, one-sided, unconscionable, and
  15    unenforceable, as described supra, particularly in light of the fact that Defendant
  16    knew, from its own internal testing of the Appliances, and the numerous complaints
  17    on its own website and elsewhere, that the Products were defective.
  18           54.    Any attempt by Defendant to limit or disclaim the express warranties
  19    in a manner that would exclude coverage of the defect is unconscionable as a matter
  20    of law because the relevant purchase transactions were tainted by Defendant’s
  21
  22    11
           Composite Exhibit C is warranties contained in the user manuals for Plaintiff’s appliances.
  23    For the complete manuals, see
        https://files.bbystatic.com/qN4sY3KQ2HNf%2FgSYJjN47w%3D%3D/DW80K5050_us_man_E
  24    N.20161212195402.pdf (dishwasher),
        https://files.bbystatic.com/J4wOS6I9UmJMp8SKvdEtFg%3D%3D/eea436ff-8ce2-4fe2-9a45-
  25    b71162b3ac3a.pdf (refrigerator),
        https://files.bbystatic.com/%2Bam32n%2FBCJog%2F0duwn%2Fy9w%3D%3D/45bafb49-f773-
  26    415f-baee-4c2aa3eef235.pdf (range), and
  27    https://files.bbystatic.com/aS27XQDQ0Ibmq5qBY9ecVg%3D%3D/65e6b254-2925-4380-a341-
        0dc4178ef2a1.pdf (range hood).
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    1   concealment of material facts. Thus, any such effort to disclaim, or otherwise limit,
    2   its liability for the defect is null and void.
    3          55.    Privity is not required because Plaintiff and each of the members of the
    4   class are the intended beneficiaries of Defendant’s warranties and its sale through
    5   retailers. The retailers were not intended to be the ultimate consumers of the
    6   Products and have no rights under the warranty agreements provided by Defendant.
    7   Defendant’s warranties were designed for and intended to benefit the consumer only
    8   and Plaintiff and Class Members were the intended beneficiaries of the Products.
    9          56.    Despite having notice and knowledge of the defective nature of the
  10    Products, Defendant failed to provide any relief to Class Members claiming that the
  11    defect is a cosmetic issue that is excluded by the warranty and/or stated that the
  12    consumer has made a warranty claim after the one-year warranty period expired.
  13           57.    Because Samsung knew of the Defects yet continued to warrant the
  14    Appliances as defect-free and to sell them, the one-year limitation and “cosmetic”
  15    exclusion asserted in Samsung’s warranty is unenforceable. The limitations are
  16    substantially unconscionable, unduly one-sided, and inadequate to provide Plaintiff
  17    with the benefit of her bargain given the severity of the defect and the reasonably
  18    anticipated effective life of the Appliances. Plaintiff and Class Members reasonably
  19    expected that the Appliances would be free of defects and perform their basic
  20    character (“black stainless steel”) and function without impediments for
  21    significantly longer than one year. Particularly, Samsung’s one-year limitation is
  22    overly harsh and void as contrary to public policy because Samsung knew that the
  23    Defects would occur a few months after the Class Appliances are used; and engaged
  24    in the practice of denying warranty service to purchasers who complained about the
  25    Defects, alleging that they were non-covered cosmetic issues.
  26           58.    The one-year limit is also procedurally unconscionable because
  27    Samsung knew of the Defects before the Class Members purchased their Class
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    1   Appliances, and failed to disclose the Defects to any of them. Furthermore, Plaintiff
    2   had no meaningful choice with regard to the one-year time limit that Samsung
    3   imposed unilaterally on its Class Appliances’ express warranty. There was a gross
    4   disparity in bargaining power at the point of sale between Plaintiff and Samsung,
    5   who decided the terms in its pre-printed warranty form after having exclusive pre-
    6   sale knowledge of the Defects and the financial resources to investigate the
    7   numerous complaints that were made directly by its customers. Plaintiff and the
    8   Class Members were not made aware of the Defects before purchasing her Class
    9   Appliances – specifically, that they were defective at the time of sale and would fail;
  10    Plaintiff and the Class Members would have not purchased the Class Appliances, or
  11    would not have purchased them at the price they did, had they known of the Defects.
  12          59.    Plaintiff and Class Members have performed all duties required of them
  13    under the terms of the express warranty, except as may have been excused or
  14    prevented through the conduct of Defendant or by operation of law in light of
  15    Defendant’s conduct.
  16          60.    As a direct and proximate result of Defendant’s breach of its express
  17    written warranties, Plaintiff and Class Members have suffered damages and did not
  18    receive the benefit of the bargain and are entitled to recover compensatory damages,
  19    including, but not limited to the cost of inspection, repair, and diminution in value.
  20    Plaintiff and Class members suffered damages at the point of sale stemming from
  21    their overpayment for the defective Products, in addition to loss of the Product and
  22    its intended benefits.
                                             COUNT II
  23
  24                             FRAUDULENT CONCEALMENT
  25
              61.    Plaintiff re-alleges paragraphs 1 through 43 and incorporates them
  26
        herein by reference.
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    1         62.    Samsung intentionally suppressed and concealed material facts
    2   concerning the substandard performance and quality of the Class Appliances.
    3   Samsung knew of the Defects before it released the Class Appliances to the public,
    4   or, in any case, during the four-year period immediately preceding this action, but
    5   failed to disclose the Defects prior to or at the time it marketed and sold the devices
    6   to consumers.
    7         63.    Because the Defects are latent in nature, Plaintiff and Class Members
    8   had no reasonable means of knowing that Samsung’s representations were, and
    9   continue to be, false and misleading, or that Samsung failed to disclose the Defects.
  10    Plaintiff did not and could not reasonably discovery Samsung´s deception on her
  11    own prior to purchase.
  12          64.    Samsung had a duty to disclose the Defects because it was within its
  13    exclusive knowledge and would have been important to reasonable potential
  14    purchasers in deciding whether to purchase the Class Appliances. Samsung had
  15    superior knowledge and access to the relevant facts, and knew that these facts were
  16    neither known to, nor reasonably discoverable by, Plaintiff and Class Members.
  17    Samsung also had a duty to disclose the Defects because it made general, partial
  18    representations about the characteristics and qualities of the Class Appliances, i.e.,
  19    that they are fingerprint resistant.
  20          65.    Plaintiff and the Class Members were exposed to Samsung’s specific
  21    representations about the Class Appliances both before and immediately after
  22    purchase, and within the time window in which they could have returned their Class
  23    Appliances for a refund. See ¶¶ 14-16, 22, supra.
  24          66.    In connection with its ongoing promotion and sale of the Class
  25    Appliances, Samsung continues to defraud consumers by purposely concealing
  26    material information about the defective nature of the devices. See ¶¶ 19-20, supra.
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    1         67.     Plaintiff was unaware of the material facts that Samsung has actively
    2   omitted and concealed, and would not have acted as she did had Samsung disclosed
    3   those facts to her; in particular, had Samsung notified Plaintiff of the Defects, she
    4   would not have purchased her Class Appliances, would not have purchased them at
    5   the price she did, or would have returned them for a refund during the remorse
    6   period.     Hence, Samsung benefitted from the proceeds of sales of the Class
    7   Appliances as a result of its nondisclosure.
    8         68.     Plaintiff reasonably relied, to her detriment, upon Samsung’s fraudulent
    9   misrepresentations and omissions regarding the characteristics and qualities of the
  10    Class Appliances, and, specifically, the absence of the Defects in them when
  11    deciding whether to purchase her Class Appliances.
  12          69.     As a direct and proximate result of Samsung’s deceit and fraudulent
  13    concealment, Plaintiff sustained damages, among others, she did not receive the
  14    value of the premium price she paid for her Class Appliances. Had she known of
  15    the Defects, Plaintiff would not have purchase those appliances, or would have paid
  16    substantially less for them.
  17          70.     For the reasons above and contained in this Complaint, Samsung’s acts
  18    were done maliciously, oppressively, deliberately, with the intent to defraud, and in
  19    reckless disregard of Plaintiff’s rights, interests, and well-being, to enrich Samsung.
  20    This conduct warrants and assessment of punitive damages in an amount sufficient
  21    to deter such conduct in the future, which amount is to be determined at trial and
  22    according to proof.
                                             COUNT III
  23
  24       VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES
                       ACT—EQUITABLE RELIEF ONLY
  25                 (Cal. Civ. Code § 1750, et seq. (“CLRA”))
  26          71.     Plaintiff re-alleges paragraphs 1 through 43 and incorporates them
  27    herein by reference.
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    1           72.   This Count seeks only equitable relief.
    2           73.   Samsung is a “person” within the meaning of Civil Code §§ 1761(c)
    3   and 1770, and provided “goods” within the meaning of Civil Code §§ 1761(a) and
    4   1770.
    5           74.   Samsung’s acts and practices, as alleged in this complaint, violate the
    6   CLRA, Cal. Civ. Code §§ 1770(a)(5), (7), (9), and (19), because they constitute
    7   unfair and deceptive acts and practices in connection with transactions (the sale of
    8   defective Class Appliances). This conduct was intended to result and did result in
    9   the sale of these goods to consumers, including but not limited to Plaintiff and Class
  10    Members. In particular, Samsung:
  11                  (a)     represented that the Class Appliances have characteristics, uses,
  12                          and benefits that they do not have;
  13                  (b)     represented that the Class Appliances are of a standard, quality,
  14                          or grade that they are not;
  15                  (c)     advertised the Class Appliances with the intent not to sell them
  16                          as advertised; and
  17                  (d)     inserted unconscionable warranty limitations and disclaimers in
  18                          its contracts with consumers, including but not limited to
  19                          Plaintiff and Class Members.
  20            75.   As a direct and proximate result of Samsung’s conduct, Plaintiff and
  21    the Class Members have been harmed because they purchased products they
  22    otherwise would not have purchased—either at all or at the premium prices they
  23    paid—or that they otherwise have returned for a full refund during their applicable
  24    remorse periods. Meanwhile, Samsung has gained more revenue than it otherwise
  25    would have, unjustly enriching itself.
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    1         76.    Plaintiff thus seeks equitable relief, reasonable attorneys’ fees and
    2   costs, declaratory relief, punitive damages, and a permanent injunction enjoining
    3   Samsung from engaging in this prohibited conduct.
    4         77.    Pursuant to Cal. Civ. Code § 1782(a), on September 2, 2021,
    5   Plaintiff—through her undersigned counsel—has made the demand required under
    6   the statute. See Exhibit D. If Defendant does not meet Plaintiff’s demand, Plaintiff
    7   intends to amend this complaint to seek money damages pursuant to the CLRA.
    8         78.    Plaintiff’s CLRA venue declaration in accordance with Cal. Civ. Code
    9   § 1780(b) is attached hereto as Exhibit E.
  10
                                            COUNT IV
  11
                    VIOLATION OF THE UNFAIR COMPETITION LAW
  12
                       (Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”))
  13
  14          79.    Plaintiff re-alleges paragraphs 1 through 43 and incorporates them
  15    herein by reference.
  16          80.    The UCL proscribes acts of unfair competition, including but not
  17    limited to “any unlawful, unfair or fraudulent business act or practice and unfair,
  18    deceptive, untrue or misleading advertising,” Cal. Bus. & Prof. Code § 17200.
  19          81.    Samsung’s conduct is unlawful, in violation of the UCL, because it
  20    violates California’s Song-Beverly Consumer Warranty Act, Consumers Legal
  21    Remedies Act, and False Advertising Law.
  22          82.    Samsung’s conduct is fraudulent and deceptive in violation of the UCL.
  23    Samsung deceived consumers by misrepresenting to consumers on all online
  24    advertisements and product descriptions everywhere, including on product-tags at
  25    brick-and-mortar retailers, that the Appliances were “black stainless steel,” and that
  26    they were “fingerprint resistant.”      These representations described critically
  27    important characteristics of the Appliances and were likely to deceive reasonable
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    1   consumers. As alleged above, Samsung’s representations were false and misleading
    2   because they failed to disclose that these important advertised characteristics were
    3   temporary, and that within a matter of months the Appliances would not be “black
    4   stainless steel” or “fingerprint resistant.” Plaintiff and Class Members reasonably
    5   relied on Samsung’s representations and would not have purchased them at all, or at
    6   the price they paid, or would have returned them during any applicable return period.
    7         83.    Samsung had enough financial resources and opportunities to alert or
    8   otherwise disclose to Plaintiff and other Class Members about the Appliance defects,
    9   including but not limited to disclosures through its website or through its authorized
  10    resellers onsite and online sales points. Notwithstanding, Samsung failed to do so
  11    even though it had exclusive pre-sale knowledge of the Defects. Had Samsung
  12    disclosed the Defects in the Class Appliances, Plaintiff and Class Members would
  13    not have purchased her Class Appliances, would not have purchased them at the
  14    price they did, or would have returned them during the purchaser’s remorse period.
  15          84.    Samsung had, and continues to have, a duty to disclose to potential
  16    purchasers the Defects in the Class Appliances because of its exclusive pre-sale
  17    knowledge of the Defects, and because of its unqualified representations about the
  18    Class Appliances’ quality, characteristics, and properties that did not include any
  19    disclosure about their Defects. Samsung breached, and continues to breach, its duty
  20    to disclose and did in fact conceal the Defects with the intent to increase, or at least
  21    to avoid a decrease of, its sale of Appliances.
  22          85.     Samsung’s conduct is unfair in violation of the UCL because it violates
  23    California public policy, legislatively declared in the Song-Beverly Consumer
  24    Warranty Act, requiring a manufacturer to ensure that goods it places on the market
  25    are fit for their ordinary and intended purposes. Samsung is the manufacturer of the
  26    Class Appliances because it designed, manufactured, produced, and assembled the
  27    Class Appliances, and violated the Song-Beverly Act because the Class Appliances
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    1   are unfit for their ordinary and intended purpose of black stainless steel, fingerprint
    2   resistant appliances.
    3         86.    Samsung engaged in an unscrupulous, oppressive, misleading, and
    4   substantially injurious manner, including but not limited to:
    5                (a)     promoting and selling the Class Appliances it knew were
    6                        defective;
    7                (b)     promoting and selling Class Appliances containing defects that
    8                        caused their premature failure;
    9                (c)     denying warranty service under allegations that the Defects were
  10                         mere cosmetic issues;
  11                 (d)     unilaterally imposing an unconscionably short warranty period
  12                         and refusing warranty service where the Defects manifested
  13                         outside the warranty period;
  14                 (e)     failing to provide refunds or replace the Class Appliances with
  15                         defect-free appliances; and
  16                 (f)     minimizing the scope and severity of the Defects, stating that
  17                         they were mere cosmetic issues.
  18          87.    Samsung’s practices of marketing, distributing for sale and/or selling
  19    the Class Appliances that it knew were defective, without providing an adequate
  20    remedy to cure the Defects, have harmed and continue to harm the public at large,
  21    in particular, Plaintiff and the Class Members, and is part of a common and uniform
  22    course of wrongful conduct. Moreover, the harm from Samsung’s conduct was not
  23    reasonably avoidable by consumers because Samsung did not disclose the Defects,
  24    even though Samsung had exclusive pre-sale knowledge about them and especially,
  25    after receiving numerous complaints that were directly made by its customers.
  26          88.    Samsung’s conduct is also unfair because Samsung could have opted
  27    for practices much less oppressive and harmful to the Class Members, practices that
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    1   would further its business interests of satisfying and retaining its customers while
    2   maintaining profitability, such as conducting adequate product development to
    3   analyze potential defects to implement corrective measures, disclosing the defects to
    4   prospective purchasers, implementing an effective and permanent fix for the
    5   defective Class Appliances, extending the Class Appliances’ warranty service time,
    6   and offering refunds or defect-free replacements for the Class Appliances to Class
    7   Members. Therefore, Samsung’s unfair conduct is so harmful that it outweighs any
    8   potential utility.
    9          89.    Samsung's conduct was unlawful, because of the violations of law
  10    detailed herein.
  11           90.    Plaintiff and Class Members suffered injury in fact, including lost
  12    money or property, as a result of Samsung’s unlawful, unfair, fraudulent and
  13    deceptive acts and omissions.        Absent Samsung’s conduct, as detailed above,
  14    Plaintiff and Class Members would not have purchased the Appliances, would not
  15    have purchased them at the price they did, and/or would have returned them for a
  16    refund during the applicable purchaser’s remorse period.
  17           91.    Furthermore, Plaintiff may wish to purchase other Class Appliances in
  18    the future. However, she is impaired from presently doing so in view of her inability
  19    to rely on Samsung’s statements concerning such appliances. Plaintiff seeks to
  20    enjoin Samsung from further commission of these unlawful, unfair, and fraudulent
  21    practices under Cal. Bus. & Prof. Code § 17203.
  22           92.    Accordingly, Plaintiff seeks such orders and/or judgments as may be
  23    necessary to enjoin Samsung from continuing its unfair, unlawful, and fraudulent
  24    practices, and to restore to Plaintiff any money Samsung gained through its
  25    prohibited acts and practices, including restitution, as provided for under the UCL,
  26    in addition to reasonable attorneys’ fees and costs.
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    1                                        COUNT V

    2       VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
    3              (Cal. Bus. & Prof. Code § 17500, et seq. (“FAL”))

    4         93.       Plaintiff re-alleges paragraphs 1 through 43 and incorporates them
    5   herein by reference.
    6         94.       Samsung violated the FAL by publicly disseminating misleading and
    7   false advertisements, including but not limited to the critically important description
    8   of the Appliances as “black stainless steel” online, on the product, and on description
    9   tags at brick-and-mortar retailers, including at Best Buy where Plaintiff purchased
  10    them. Moreover, Samsung also uniformly advertised online and on product
  11    description tags at brick-and-mortar retailers that the Appliances were fingerprint
  12    resistant, a material misrepresentation. Neither representation were true because, as
  13    alleged above, the Appliances were “black stainless steel” and “fingerprint resistant“
  14    only briefly.
  15          95.       Samsung’s misleading and false advertisements were disseminated to
  16    increase sales of the Class Appliances.
  17          96.       Samsung knew or should have known its false advertisements were
  18    untrue or misleading.
  19          97.       Samsung publicly disseminated the false advertisements as part of a
  20    plan or scheme and with the intent to create a price premium for the Class
  21    Appliances.
  22          98.       Plaintiff and Class Members have suffered harm as a result of these
  23    violations of the FAL because: (a) they would not have purchased the Appliances or
  24    would not have purchased the Appliances on the same terms if the facts concerning
  25    the defective fingerprint resistance coating had been known; and (b) Samsung did
  26    not conform to their representations and promises.
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    1         99.    Pursuant to the FAL, Plaintiff and Class Members seek an order of this
    2   Court permanently enjoining Samsung from continuing to publicly disseminate
    3   misleading and false advertisements as alleged herein. Plaintiff and Class Members
    4   also seek an order requiring Samsung to: (a) make full restitution for all monies
    5   wrongfully obtained; and (b) disgorge all ill-gotten revenues and/or profits.
    6                                 PRAYER FOR RELIEF
    7
                     WHEREFORE, Plaintiff, on behalf of herself and all others similarly
    8
        situated, prays for judgment and relief against Samsung as follows:
    9
              A.     that this Court determine that the above claims may be maintained as a
  10
        class action and certify the Classes under Fed. R. Civ. P. 23, appointing Plaintiff as
  11
        Class Representative and her attorneys as Class Counsel to represent the members
  12
        of the Classes;
  13
              B.     that this Court award all actual, general, special, incidental, statutory,
  14
        punitive, and consequential damages to which Plaintiff is entitled;
  15
              C.     that this Court award pre-judgment and post-judgment interest on such
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        monetary relief;
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              D.     that this Court declare that the Class Appliances have common defects
  18
        in their design and/or manufacture;
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              E.     that this Court issue an order requiring Samsung to provide appropriate
  20
        disclosure of the defective nature of the Class Appliances, including notifying each
  21
        and every Class Member of the Defects;
  22
              F.     that this Court order Samsung to notify each and every person who
  23
        purchased Class Appliances of the pendency of the claims in this action in order to
  24
        give such persons an opportunity to obtain damages and/or restitution from
  25
        Samsung;
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    1         G.     that this Court issue an order requiring Samsung to implement whatever
    2   measures are necessary to remedy the violations described in this Complaint,
    3   including modifying current marketing and advertising efforts and materials that is
    4   false and misleading;
    5         H.     that should this Court determine that there is no adequate legal remedy
    6   available to Plaintiff, to grant, in the alternative, appropriate injunctive and
    7   declaratory relief as follows:
    8                i.       to order Samsung to pay restitution to restore to all affected
    9                         persons all funds acquired by means of any act or practice
  10                          declared by this Court to be unlawful, unfair, or a fraudulent
  11                          business act or practice, untrue or misleading labeling,
  12                          advertising, and marketing;
  13                 ii.      to order Samsung to disgorge all monies wrongfully obtained by
  14                          Samsung as a result of its acts or practices as alleged in this
  15                          Complaint;
  16                 iii.     to permanently enjoin Samsung from conducting its business
  17                          through the unlawful, unfair, or fraudulent business acts or
  18                          practices, untrue, and misleading labeling and marketing and
  19                          other violations of law described in this Complaint;
  20                 iv.      to conduct a corrective advertising and information campaign
  21                          advising consumers that the Class Appliances do not have the
  22                          characteristics, uses, benefits, and qualities that Samsung has
  23                          claimed;
  24                 v.       to award pre-judgment and post-judgment interest on such
  25                          equitable relief;
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    1         I.    that this Court award Plaintiff and Class Members their costs and
    2   attorneys’ fees pursuant to statute, the common fund doctrine, and/or any other
    3   appropriate legal theory; and
    4         J.    that this Court grant such other and further relief as may be just and
    5   proper.
    6                                    JURY DEMAND
    7         Plaintiff hereby demands a trial by jury in this action on all issues so triable.
    8
        DATED: October 22, 2021
    9
  10                                            /s/ Elizabeth Lee Beck
                                                Elizabeth Lee Beck
  11
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